                     Case 4:08-cr-00315-RSB-CLR Document 1536 Filed 05/15/15 Page 1 of 1
A0 247 (10/11) Order Regarding Motion lr Sentence RCdILCI ion F'LLISLIaLtt 10 18 USC. § 3582(c)(2)                                  Page 1 of 2 (Page 2 Not for Public Disclosure)




                                                                  UNITED STATES DISTRICT COURT
                                                                                          for the                                                         '-p
                                                                                                                               C,
                                                                                Savannah Division
                         United States of America                                           )


                                           V.                                               )


                                                                                                CaseNo: 4:08-CR-00315-33
                              Marion Ray Johnson
                                                                                            )



                                                                                            )   USMNo: 13841-021
Date of Original Judgment:         May 13, 2009                                             )
                                                                                                W. Eugene Caldwell
Date of Previous Amended Judgment: N/A                                                      )   Defendant's Attorney
(Use Date of Last Amended Judgment, if any



                                            Order Regarding Mfflion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)


        Upon motion of                 F-                           fl
                             1 the defendant the Director of the Bureau of Prisons the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § I B 1 .I0 and
the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
 E1 DENIED.  GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in the last judgment
             issued) of         months is reduced to


                                                       (Complete Pat-Is I and II of Page 2 when motion is granted)




Except as otherwise provided above, all provisions of the judgment dated                                May 13, 2009,       shall remain in effect.
IT IS SO ORDERED,

Order Date:
                                                                                                                   'judge's signat        '

                                                                                                William T. Moore, Jr.
                                                                                                Judge, U.S. District Court
Effective Date: November 1, 2015                                                                Southern District of Georgia
                           (if different from order dale)                                                        Printed name and title
